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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 HARRIS COUNTY, TEXAS, et al.,

                              Plaintiffs,

 v.                                                Case No. 1:25-cv-01275-CRC

 ROBERT F. KENNEDY, JR., in his
 official capacity as Secretary of Health
 and Human Services, et al.,

                              Defendants.

            [PROPOSED] ORDER GRANTING PARTIAL RECONSIDERATION

          Upon consideration of the motion for partial reconsideration filed by Plaintiff American

Federation of State, County, and Municipal Employees (“AFSCME”), it is hereby

          ORDERED that AFSCME’s motion for partial reconsideration is GRANTED. It is

further

          ORDERED that, in addition to the injunction that applies as a result of this Court’s June

17, 2025 Order granting partial injunctive relief to plaintiffs Harris County, Texas; Columbus,

Ohio; Davidson County and Nashville, Tennessee; and Kansas City, Missouri, Defendants and

their agents are preliminarily enjoined from enforcing or otherwise giving effect to the March

2025 terminations of any grants issued directly or indirectly to Alaska and Jackson County,

Ohio, under the Coronavirus Preparedness and Response Supplemental Appropriations Act of

2020, Pub. L. No. 116-123, 134 Stat. 146 (2020); the Coronavirus Aid, Relief, and Economic

Security Act, Pub. L. No. 116-136, 134 Stat. 281 (2020); and the Coronavirus Response and

Relief Supplemental Appropriations Act of 2021, Pub. L. No. 116-260, div. M., 134 Stat. 1182

(2020). It is further



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       ORDERED that Defendants notify any state entities acting as pass-throughs for any

indirect grants described in the previous paragraph of this Order and file a status report by July

29, 2025, confirming that it sent these notices.

       SO ORDERED.




Dated: July _____, 2025                    ________________________________________

                                                   HON. CHRISTOPHER R. COOPER
                                                   United States District Judge




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